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                         Exhibit C

                    Utility Services List
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            Utility Provider                  Account Number(s) (if known)                            Service(s)         Utility Deposit Amount    Surety Bond Amount   Proposed Adequate Assurance

AES INDIANA                      410410 | 338624 | 416562                              Electricity                                                                      $                   11,318

AES OHIO                         5949024508 | 6853463081                               Electricity                                                                      $                    1,721

                                 4515043020 | 5290267001 | 0110355005 | 5034477001 |
ALABAMA POWER CO                                                                       Electricity                   $                     1,425                        $                      675
                                 5076477010

ALBUQUERQUE BERNALILLO COUNTY 7486579560                                               Waste, Sewer                                                                     $                      206

ALECTRA UTILITIES                0155117263                                            Electricity                                                                      $                    5,075

ALL AMERICAN WASTE               Unknown                                               Waste                                                                            $                      826

ALL VALLEY ENVIROMENTAL          Unknown                                               Waste                                                                            $                    6,619

ALLEN'S RECYCLING LLC            Unknown                                               Waste                                                                            $                       38

ALLIANT ENERGY IPL               1967841000                                            Electricity, Gas                                                                 $                      272

ALLSTREAM BUSINESS INC           Unknown                                               Waste                                                                            $                    1,755

ALTAFIBER                        Unknown                                               Telecom                                                                          $                      575

ALTOONA WATER AUTHORITY          957532 | 957612                                       Water, Sewer                                                                     $                       67

ALWAYS GREEN RECYCLING           Unknown                                               Waste                                                                            $                       20

                                 1353102027 | 9058948004 | 6161677006 | 9523006211 |
AMEREN ILLINOIS                                                                        Electricity, Gas              $                     2,043                        $                       -
                                 8251459855
                                 8099300118 | 2996602116 | 3301007912 | 8182413116 |
AMEREN MISSOURI                                                                        Electricity, Gas                                                                 $                    6,258
                                 8901006719 | 9182413115
                                 10622095015 | 10932095010 | 10894512812 |
                                 04571821414 | 07297390309 | 10837688208 |
AMERICAN ELECTRIC POWER          04270957121 | 04862670413 | 10202033113 |             Electricity                                                                      $                   10,661
                                 10202954011 | 10512954016 | 10981033110 |
                                 10156304247 | 10547805530 | 10995304242
                                 02464970520 | 02774970509 | 02969730007 |
APPALACHIAN POWER                                                                      Electricity                                                                      $                      995
                                 02425262108

APS                              0405600000                                            Electricity                                                                      $                      165

AQUA ILLINOIS INC                0011603590841433                                      Water                                                                            $                       38

AQUA OH                          0012248670899734 | 0012248671264601                   Water                                                                            $                      243

                                 0003744260366147 | 0003744270366148 |
AQUA PENNSYLVANIA                                                                      Water, Sewer                                                                     $                      607
                                 0003744290366150

AT&T                             Unknown                                               Telecom                                                                          $                  181,451

AT&T GLOBAL SERVICES CANADA CO   Unknown                                               Telecom                                                                          $                    2,831

AT&T MOBILITY LLC                Unknown                                               Telecom                                                                          $                   19,898

AT&T U-VERSE                     Unknown                                               Telecom                                                                          $                       40

ATLANTIC CITY ELECTRIC           55010741613                                           Electricity                                                                      $                      351

                                 3016481316 | 3016495132 | 3006514326 | 3031187982 |
ATMOS ENERGY                                                                           Gas                                                                              $                    2,248
                                 4044182390
                                 3011483305 | 3020761069 | 3028471653 | 3027903670 |
ATMOS ENERGY CORP                                                                      Gas                                                                              $                    2,632
                                 3041245275 | 3007657500

AUGUSTA COUNTY SERVICE AUTH      460032742                                             Water, Sewer                                                                     $                       44

AURORA WATER                     A000235 | A000241 | A062412                           Water, Sewer, Storm Water                                                        $                    2,346

AUSTELL NATURAL GAS SYSTEM       9300621006                                            Gas                           $                      100                         $                      428

AVCO DISPOSAL INC                Unknown                                               Waste                                                                            $                       37

AVISTA                           3228800000 | 7699740000 | 0336020000                  Gas, Electricity                                                                 $                    2,540

BC HYDRO                         11823911111 | 11823911121                             Electricity                                                                      $                    1,110

BEDFORD RURAL ELEC COOP INC      2295604                                               Electricity                                                                      $                      439

BEDFORD TWNSHP MUNICIPAL AUTH    700032                                                Sewer, Water                                                                     $                       26

BELL CANADA                      Unknown                                               Telecom                                                                          $                    4,732

BEN DAVIS CONSERVANCY DISTRICT   Unknown                                               Sewer                                                                            $                      108

BETHLEHEM TOWNSHIP               543000465                                             Sewer                                                                            $                       13

BGE                              1757201000 | 0442230000 | 0695112000 | 3855891000     Electricity, Gas                                                                 $                    4,863

BIRCH RUN TOWNSHIP               21302900001                                           Water                                                                            $                       75

BIRMINGHAM WATER WORKS           210010054064                                          Sewer, Water                                                                     $                      163

BLACK HILLS ENERGY               6272819346 | 3661573232 | 2434466689 | 8862304957     Gas, Electricity                                                                 $                      776

BLACKMAN CHARTER TOWNSHIP        1360870                                               Sewer                                                                            $                       25

BOONE ELECTRIC COOP              29082001                                              Electricity, Sewer                                                               $                      272

BOROUGH OF SOUTH PLAINFIELD      61050                                                 Sewer                                                                            $                       32
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           Utility Provider                   Account Number(s) (if known)                            Service(s)               Utility Deposit Amount    Surety Bond Amount   Proposed Adequate Assurance

BRIGHTSPEED                      Unknown                                               Waste                                                                                  $                      632

BUENA VISTA TWP WTR & SWR DEPT   2314200001                                            Sewer                                                                                  $                       12

BURGMEIER'S HAULING, INC.        Unknown                                               Waste                                                                                  $                       91

BUTLER CO WATER & SEWER DEPT     30135852014358                                        Sewer, Water                                                                           $                      136

BYRON TOWNSHIP TREASURER         DIVI010151000003 | DIVI010151000004                   Water, Sewer                                                                           $                      132

C SPIRE WIRELESS                 Unknown                                               Waste                                                                                  $                      179

C STODDARD & SONS INC            Unknown                                               Waste                                                                                  $                      497

CALIFORNIA AMERICAN WATER        1015210041187163                                      Water                                                                                  $                       55

CALIFORNIA WATER SERVICE CO      1873535525 | 8668682265 | 8260897381                  Water                                                                                  $                       61

CAPE FEAR PUBLIC UTILITY AUTH    10059054                                              Water                                                                                  $                       56

CAPITAL ELECTRIC COOP INC        1518502                                               Electricity                                                                            $                      101

CARL KING ENERGY SERVICES INC    Unknown                                               Gas                                                                                    $                    8,088

CARLSTADT SEWERAGE AUTHORITY     4270                                                  Sewer                                                                                  $                      108

CASCADE NATURAL GAS              26442200007                                           Gas                                                                                    $                       58

CATOOSA UTILITY DISTRICT AUTH    215035500                                             Water, Sewer                                                                           $                       28


                                 0260040509451652646 | 0130017710511760709 |
                                 0340035922323569599 | 60067675 | 60129897 |
CENTERPOINT ENERGY                                                                    Gas, Electricity                                                                        $                   11,523
                                 0340039468023949785 | 54242086 | 62039912 | 62061296
                                 | 0262121972951891695 | 42283267 | 42283333


CENTRAL HUDSON GAS & ELEC CORP   21003131576 | 21004097164                             Electricity, Gas                                                                       $                    9,431

CENTRAL MAINE POWER              35012127615 | 35010305734                             Electricity                                                                            $                      736

CENTURYLINK                      Unknown                                               Telecom                                                                                $                   97,396

CHARLESTON COUNTY REVENUE        47506000046                                           Storm Water                                                                            $                       95

                                 5204020021 | 5204020031 | 5204020041 | 5204020042 |
CHARLESTON SANITARY BOARD AND                                                          Water, Sewer, Waste                                                                    $                       23
                                 5204020022

CHARLESTON WATER SYSTEM          039243001                                             Sewer, Water                                                                           $                       26

CHARTER COMMUNICATIONS           Unknown                                               Telecom                                                                                $                    1,360

CHESTERFIELD COUNTY              000245262043964                                       Sewer, Water                                                                           $                      114

CINNAMINSON SEWER AUTHORITY      109741250                                             Sewer                                                                                  $                       40

                                 0361050000 | 2968420000 | 2183140000 | 6361730000 |
CITIZENS ENERGY GROUP                                                                  Gas, Sewer, Water                                                                      $                    2,669
                                 0832330000 | 3551420000 | 2680510000

CITY AND COUNTY OF HONOLULU      4067641431                                            Water, Sewer                                                                           $                      264

CITY OF ABILENE                  29256904                                              Water, Sewer, Waste, Storm Water                                                       $                      132

CITY OF AKRON                    550657301 | 650014302                                 Sewer, Water                                                                           $                      418

CITY OF ALEXANDRIA               12194105668                                           Gas, Water, Sewer, Electricity                                                         $                      260

CITY OF ATLANTA                  NEAR000706000000                                      Sewer, Water                                                                           $                       27

                                                                                       Water, Sewer, Electricity, Storm
CITY OF AUSTIN                   5198700000 | 6198700000                                                                                                                      $                    2,234
                                                                                       Water

CITY OF BALTIMORE DIR FINANCE    11000362945                                           Water, Sewer, Storm Water                                                              $                      787

CITY OF BAXTER SPRINGS           09320000 | 09321000                                   Sewer, Water                                                                           $                       36

CITY OF BETHLEHEM                03675403                                              Water                                                                                  $                        2

                                                                                       Electricity, Waste, Sewer, Water,
CITY OF BISMARCK WATER DEPT      63501000005                                                                                                                                  $                       38
                                                                                       Storm Water

CITY OF BOYNTON BEACH            13242146041                                           Water, Sewer, Storm Water                                                              $                      409

CITY OF BURNABY                  3000634                                               Sewer, Water                                                                           $                       18

                                                                                       Electricity, Sewer, Water, Storm
CITY OF BURNSVILLE               61221000001 | 61222000001                                                                                                                    $                    2,527
                                                                                       Water

CITY OF CENTRAL POINT            006647000 | 006647001                                 Water, Sewer, Storm Water                                                              $                    2,245

CITY OF CHARLOTTE                66199167272 | 67158195953                             Sewer, Storm Water, Water                                                              $                    8,810

CITY OF CLEVELAND DIV OF WATER   7725920000 | 9782920000 | 4424740000                  Water, Sewer                                                                           $                      420

CITY OF COLUMBIA                 016330150011165317                                    Water                                                                                  $                       33

CITY OF COON RAPIDS              2811220004 | 2811350009 | 2811220996                  Storm Water, Sewer, Water                                                              $                      327

CITY OF DALLAS                   100635362                                             Sewer, Water, Storm Water           $                     2,350                        $                       -
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           Utility Provider                    Account Number(s) (if known)                            Service(s)                   Utility Deposit Amount   Surety Bond Amount   Proposed Adequate Assurance

CITY OF DANVILLE                  0400124000                                            Sewer                                                                                     $                       66

CITY OF DOWNEY                    2816545002                                            Water                                                                                     $                       62

CITY OF DUBOIS BUREAU OF WATER    47800                                                 Water                                                                                     $                        6

                                                                                        Gas, Electricity, Water, Sewer, Storm
CITY OF DULUTH COMFORT SYSTEMS    101009670001                                                                                                                                    $                      413
                                                                                        Water

CITY OF DURHAM                    341509309664                                          Water, Sewer                            $                      300                        $                       -

CITY OF EAU CLAIRE                20055                                                 Water, Sewer, Storm Water                                                                 $                       94

CITY OF EUREKA                    140371509403                                          Water, Sewer                                                                              $                      215

                                                                                        Electricity, Sewer, Water, Storm
CITY OF FARGO                     650139002                                                                                                                                       $                       81
                                                                                        Water

CITY OF FIFE                      001006000 | 107651000 | 107654000                     Water, Sewer, Storm Water                                                                 $                      535

CITY OF FLAGSTAFF                 215613                                                Sewer, Water, Waste, Storm Water                                                          $                      208

CITY OF FONTANA                   003096 | 003617                                       Sewer                                                                                     $                      461

CITY OF FORT MYERS                400320101                                             Water, Sewer                                                                              $                      145

CITY OF FORT WORTH WATER DEPT     121891117698                                          Sewer, Water, Storm Water                                                                 $                      557

CITY OF GAYLORD                   CALK001830000002                                      Sewer, Water                                                                              $                       35

CITY OF GOODLAND                  3354542004                                            Water, Sewer, Electricity, Waste                                                          $                       73

CITY OF GREAT FALLS               37398022746                                           Water, Sewer, Storm Water                                                                 $                       93

CITY OF HOUSTON                   432719897014 | 432719898012                           Water, Sewer, Storm Water                                                                 $                    1,812

                                  111423300 | 114718300 | 111488300 | 111489300 |
CITY OF IRVING MUNICIPAL SVCS                                                           Waste, Sewer, Water, Storm Water                                                          $                    2,528
                                  111487300 | 115731300

CITY OF JACKSON                   0745270002 | 0745271000                               Water, Sewer, Electricity                                                                 $                      243

CITY OF JACKSONVILLE              2124327574                                            Water, Sewer, Waste, Storm Water                                                          $                       99

CITY OF JOLIET                    119909328630 | 119909328640 | 129251329090            Water, Sewer                                                                              $                      230

CITY OF JOPLIN                    123377312040                                          Sewer                                                                                     $                       25

CITY OF KEARNEY                   350055000001                                          Waste, Water, Sewer                                                                       $                      104

CITY OF LA GRANDE WATER OFFICE    015749000                                             Sewer, Water                                                                              $                       24

CITY OF LAGRANGE                  3131060001                                            Water                                                                                     $                       21

CITY OF LAREDO UTILITIES          74210563825 | 74210563827                             Water, Sewer, Storm Water                                                                 $                      147

CITY OF LIMA UTILITIES            0035172074720                                         Sewer                                                                                     $                       57

CITY OF LOS ANGELES               372115                                                Sewer                                                                                     $                      121

                                                                                        Electricity, Water, Sewer, Storm
CITY OF LUBBOCK UTILITIES         E90003678 | W51139283                                                                                                                           $                      632
                                                                                        Water
                                                                                        Water, Sewer, Electricity, Storm
CITY OF MANASSAS UTILITIES        890297000001                                                                                                                                    $                    1,382
                                                                                        Water

CITY OF MERIDIAN                  2148286001                                            Sewer, Water, Waste                                                                       $                      563

CITY OF MILLVILLE UTILITY DEPT    99040                                                 Water, Sewer                                                                              $                       15

                                                                                        Electricity, Sewer, Water, Storm
CITY OF MILWAUKEE                 3931545300 | 32819300 | 3931546300                                                                                                              $                    3,355
                                                                                        Water

CITY OF MINER                     10087001                                              Sewer, Water                                                                              $                       24

CITY OF MISSOULA                  069651134651 | 069652134651                           Water, Sewer, Storm Water                                                                 $                      190

CITY OF MT VERNON                 004955000                                             Sewer, Water                                                                              $                      182

CITY OF NOGALES                   33119000                                              Waste, Sewer                                                                              $                      151

                                                                                        Waste, Electricity, Water, Sewer,
CITY OF OCALA                     508528143049                                                                                                                                    $                      765
                                                                                        Storm Water

CITY OF OKLAHOMA CITY             250101016454                                          Sewer, Water, Storm Water                                                                 $                      422

CITY OF OLIVE BRANCH              20418                                                 Water, Gas, Sewer                                                                         $                      109

CITY OF ORANGE                    0005805000 | 0000410800                               Sewer, Water, Storm Water                                                                 $                      257

                                  1457500000 | 2708400000 | 3071700007 | 9047400000 |
CITY OF PHOENIX                                                                         Sewer, Water                                                                              $                      493
                                  7723897160
                                  23004080002300408 | 23006840302300406 |
CITY OF POMONA                                                                          Water, Sewer, Waste                                                                       $                      430
                                  99914115902300684

CITY OF PORTLAND                  2967568200 | 2967568300 | 2985622400 | 2985622500     Water, Sewer, Storm Water                                                                 $                   18,313

CITY OF QUINCY                    2137321372                                            Water                                                                                     $                       11

CITY OF RALEIGH                   5781000000                                            Water, Storm Water, Sewer                                                                 $                      442

CITY OF REDMOND                   005763000                                             Water, Sewer, Storm Water                                                                 $                      151

CITY OF REGINA                    175746331875                                          Water, Sewer, Storm Water                                                                 $                      167
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           Utility Provider                    Account Number(s) (if known)                   Service(s)                   Utility Deposit Amount    Surety Bond Amount   Proposed Adequate Assurance

CITY OF RICHLAND                  030400000                                    Sewer, Water                                                                               $                      719

CITY OF ROCHESTER WATER           7201990002                                   Water                                                                                      $                       40

CITY OF ROCK ISLAND               0001083700                                   Water, Sewer, Storm Water                                                                  $                      669

CITY OF ROCKFORD                  045095411 | 200085300 | 200085400            Water                                                                                      $                      265

                                                                               Electricity, Water, Gas, Sewer, Storm
CITY OF ROCKY MOUNT               001640450050510                                                                                                                         $                      621
                                                                               Water

CITY OF ROMULUS                   014495 | 026337                              Water, Sewer                                                                               $                      255

CITY OF ROSEBURG                  140030000                                    Sewer, Water, Storm Water                                                                  $                      155

CITY OF SAN DIEGO CITY TREASUR    610000014827 | 610000030164 | 610000034127   Sewer, Water, Storm Water               $                      526                         $                       -

                                                                               Water, Electricity, Sewer, Storm
CITY OF SANTA CLARA               0006193503                                                                                                                              $                      598
                                                                               Water

CITY OF SANTA MARIA               102840310                                    Water, Waste                                                                               $                       69

CITY OF SASKATOON                 100547280                                    Water, Sewer                                                                               $                       68

CITY OF SAVANNAH                  011786                                       Water                                                                                      $                        6

CITY OF SEATTLE                   3272620000                                   Electricity                                                                                $                    1,428

CITY OF SHERMAN                   402176001                                    Sewer, Water                                                                               $                      106

CITY OF SHREVEPORT                551461963029                                 Water                                                                                      $                       34

CITY OF SIOUX CITY                280761002101 | 42491581025                   Sewer, Water, Storm Water                                                                  $                       72

CITY OF SPARKS                    027298000 | 051491000                        Sewer, Storm Water                                                                         $                       44

CITY OF SPOKANE                   182038300                                    Water, Sewer, Waste, Storm Water                                                           $                    2,096

CITY OF ST LOUIS                  394941222658 | 394974222672 | 395955223040   Water                                                                                      $                      121

                                                                               Sewer, Water, Electricity, Storm
CITY OF TACOMA                    100238363 | 100056606                                                                                                                   $                    4,273
                                                                               Water

CITY OF TAMPA UTILITIES           2026881                                      Sewer, Water                                                                               $                      179

CITY OF TAYLOR WATER DEPT         99001024249                                  Water, Sewer                                                                               $                      145

CITY OF THOMASVILLE               512630109241                                 Sewer, Electricity, Water                                                                  $                      874

CITY OF TOLEDO DEPT PUBL UTIL     770000942662                                 Water, Sewer, Storm Water                                                                  $                      178

CITY OF TOPEKA                    332107101780                                 Sewer, Water, Storm Water               $                        35                        $                       97

CITY OF TRACY                     2885000                                      Waste, Sewer, Water, Storm Water                                                           $                    4,108

CITY OF TUCSON UTILITY LOCKBOX    6093363010                                   Sewer, Water                                                                               $                       63

CITY OF TUKWILA                   0407600000                                   Water, Sewer                                                                               $                      262

CITY OF TULSA UTILITIES           1687222123068                                Waste, Water, Storm Water                                                                  $                      600

CITY OF TWIN FALLS                005406000                                    Water, Sewer, Waste                                                                        $                       34

CITY OF UNION GAP                 2812                                         Waste, Water, Sewer                                                                        $                      181

CITY OF VISALIA                   017441 | 018300                              Water, Sewer, Storm Water                                                                  $                      117

CITY OF W SACRAMENTO              000888000                                    Water, Waste, Sewer                                                                        $                      127

CITY OF WACO WATER OFFICE         7566205365                                   Sewer, Water                                                                               $                       38

CITY OF WICHITA                   0180672078436                                Sewer, Water, Storm Water                                                                  $                    1,206

CITY OF WINNIPEG                  20220200008 | 30220200007 | 84220200004      Sewer, Water                                                                               $                      881

CITY OF WINSTON SALEM             2075961                                      Water, Sewer                                                                               $                    1,610

CITY OF WYOMING                   513506001                                    Sewer, Water                                                                               $                       39

CITY TREASURER                    00044006                                     Water, Sewer, Waste, Storm Water                                                           $                      275

                                  013753000029596 | 013753000695653 |
CITY UTILITIES                                                                 Water, Storm Water, Sewer                                                                  $                      518
                                  011198400699241

CITY UTILITIES OF SPRINGFIELD     1511100090                                   Electricity                                                                                $                    1,887

CLARK COUNTY REMC                 65047001                                     Electricity                                                                                $                    1,938

CLARK COUNTY WATER                2611500000                                   Sewer                                                                                      $                       72

CLAYTON COUNTY WATER
                                  1098403 | 10458408 | 1362610                 Storm Water, Sewer, Water                                                                  $                    1,400
AUTHORITY

CLIFTON WATER DISTRICT            61330301 | 71330401                          Water, Sewer                                                                               $                       44

                                                                               Electricity, Water, Gas, Sewer, Storm
COLORADO SPRINGS UTILITIES        2937969290                                                                                                                              $                      971
                                                                               Water

COLUMBIA COUNTY WATER             040590880                                    Water, Sewer, Storm Water                                                                  $                      107
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             Utility Provider                    Account Number(s) (if known)                             Service(s)         Utility Deposit Amount    Surety Bond Amount   Proposed Adequate Assurance

                                    120141110020002 | 173927310010002 |
                                    112387620010006 | 119558930010001 |
COLUMBIA GAS OF OHIO                                                                       Gas                           $                      521                         $                    3,457
                                    119558950010007 | 172537320010008 |
                                    172537320030006 | 213192730010004

COLUMBIA GAS OF PENNSYLVANIA        109206870010001                                        Gas                                                                              $                      231

COLUMBIA GAS OF VIRGINIA            128222900010007                                        Gas                                                                              $                       62

COLUMBUS CITY TREASURER             3436781256454 | 3387781079177                          Storm Water, Sewer, Water                                                        $                    6,257

COMCAST                             Unknown                                                Telecom                                                                          $                    1,556

COMED                               8514673000                                             Electricity                   $                     2,530                        $                       -

                                    211352034500132 | 522701039100005 |
CON EDISON                          522703033101005 | 522703033102003 |                    Electricity, Gas              $                    10,090                        $                       -
                                    622315020506002

CONNEXUS ENERGY                     619300244566                                           Electricity                                                                      $                    2,223

CONSOLIDATED COMMUNICATIONS         Unknown                                                Telecom                                                                          $                      196


                                    12743227 | 12743238 | 8285478 | 8285479 | 6479777 |
                                    8285477 | 8700905 | 6505173 | 6482128 | 8379031 |
                                    8775226 | 11251406 | 11251407 | 11251409 | 8775222 |
                                    8775223 | 8775224 | 8775228 | 8975747 | 8975751 |
CONSTELLATION NEWENERGY INC                                                                Electricity                                                                      $                   18,120
                                    11251404 | 8775232 | 8775234 | 11251408 | 11251412 |
                                    8775233 | 9539880 | 9539881 | 9539882 | 8775227 |
                                    9539884 | 11251410 | 11251411 | 8775229 | 12545077 |
                                    12545078 | 8775230


                                    100032254672 | 100019459526 | 103018105256 |
CONSUMERS ENERGY                    100029411210 | 100049360512 | 100027837440 |           Gas, Electricity                                                                 $                    6,147
                                    100000241081

CONVERGE ONE, INC.                  Unknown                                                Telecom                                                                          $                   58,359

COUNCIL BLUFFS WATER WORKS          521904142195                                           Sewer, Water                                                                     $                       29

CPS ENERGY                          3000569509                                             Gas, Electricity                                                                 $                      980

CROSS ANCHOR UTILITY DISTRICT       0127990004                                             Water                                                                            $                       52

CROSSCOM NATIONAL LLC               Unknown                                                Telecom                                                                          $                      954

CUMBERLAND RI WATER                 20126000 | 20126001                                    Water                                                                            $                       55

DARLINGTON COUNTY                   111048001                                              Water                                                                            $                        9

DECATUR UTILITIES                   38484001                                               Water                                                                            $                       10

DELMARVA POWER                      55003663485 | 55003924846                              Electricity                                                                      $                      859

DES MOINES WATER WORKS              0133233073124                                          Water, Sewer                                                                     $                       53

DIRECT ENERGY REGULATED SVCS        760003368759 | 760003368973 | 760005294177             Gas                                                                              $                    4,137

DIRECT WASTE SERVICES, INC          Unknown                                                Waste                                                                            $                    1,250

DIVERSE POWER                       9003001                                                Electricity                                                                      $                      133

DOMINION ENERGY                     6405830000 | 9851710000 | 5616540000                   Gas                           $                      355                         $                    4,223

DOMINION ENERGY NORTH CAROLINA 4210057334607 | 9210132541002 | 9210132541251               Gas                                                                              $                      134


                                    1420200208702 | 2440300280957 | 7440300551983 |
DOMINION ENERGY OHIO                                                                       Gas                                                                              $                    3,386
                                    1500013259934 | 7500018238290 | 7440600472999


                                    7197401554228 | 3197401139601 | 8197401139618 |
DOMINION ENERGY SOUTH CAROLINA                                                             Electricity, Gas                                                                 $                    1,677
                                    4197501491730 | 4197501491745 | 0197001863549

                                    003193200031 | 004065040000 | 007564978547 |
DOMINION ENERGY VIRGINIA                                                                   Electricity                                                                      $                    1,975
                                    002973702505 | 009042114414

DOUGLAS COUNTY PUD                  716277                                                 Electricity                                                                      $                       47

                                    910009142332 | 920016776428 | 920005141725 |
                                    910021909452 | 920016102542 | 920016102559 |
DTE ENERGY                                                                                 Gas, Electricity                                                                 $                   13,048
                                    910012837357 | 910012837233 | 910040772063 |
                                    910021606645
                                    910036098616 | 910036098757 | 910082383659 |
                                    910033003059 | 910033003273 | 910033003463 |
                                    910033003661 | 910033003893 | 910033004240 |
                                    910033002636 | 910033002850 | 910033004076 |
DUKE ENERGY                                                                                Electricity, Gas              $                      100                         $                   24,327
                                    910105999900 | 910123190040 | 910122842916 |
                                    910084481872 | 910127900779 | 910127901085 |
                                    910083137370 | 910035204814 | 910082605323 |
                                    910081544688

DUQUESNE LIGHT COMPANY              2304940000 | 4271443763                                Electricity                                                                      $                    1,876

EAGLE PASS WATER WORKS SYSTEM       128885001                                              Water, Sewer, Waste                                                              $                       90

EAST WENATCHEE WATER DISTRICT       010444000                                              Sewer, Water                                                                     $                       28

ECO WASTE SERVICES INC              Unknown                                                Waste                                                                            $                      161

EL PASO ELECTRIC                    5594710000                                             Electricity                                                                      $                      807
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             Utility Provider                  Account Number(s) (if known)                              Service(s)              Utility Deposit Amount   Surety Bond Amount   Proposed Adequate Assurance

EL PASO WATER                     4676700000 | 9711820000 | 9862620000                    Waste, Sewer, Water, Storm Water                                                     $                      810

ELEXICON ENERGY                   2099255901                                              Electricity                                                                          $                      798

ENBRIDGE GAS DISTRIBUTION INC     094580077035 | 112169306003                             Gas                                                                                  $                    4,626

ENBRIDGE GAS INC                  910044568103 | 910038564795                             Gas                                                                                  $                      880

ENERGIR LP                        38902800036                                             Gas                                                                                  $                      350

ENERGY WEST MONTANA               210464095                                               Gas                                                                                  $                       84

                                  411005265458 | 411005265599 | 411000919208 |
ENGIE POWER & GAS LLC             411000919992 | 411000920206 | 411000920651 |            Gas                                                                                  $                    4,305
                                  411000920834

ENMAX                             500103227                                               Electricity                                                                          $                    5,207

                                  19546803 | 12636163 | 31470529 | 29735065 | 2632792 |
ENTERGY                                                                                   Electricity                        $                      260                        $                    3,563
                                  2632990 | 5021423 | 78896321

ENVIRONMENTAL MANAGEMENT, INC. Unknown                                                    Waste                                                                                $                   22,561

ENWIN                             0001212100                                              Water, Sewer, Electricity                                                            $                      112

                                                                                          Water, Sewer, Electricity, Storm
EPCOR                             2625101                                                                                                                                      $                    2,777
                                                                                          Water
                                  705574413 | 710040419 | 705574906 | 710026116 |
ERIE COUNTY WATER AUTHORITY                                                               Water                                                                                $                      196
                                  710102005

ERIE WATER WORKS                  362220362720                                            Water, Sewer                                                                         $                       30

ERTH SOLUTIONS                    7687300                                                 Water, Sewer                                                                         $                       14

                                                                                          Electricity, Water, Sewer, Storm
EUGENE WATER & ELECTRIC BOARD     8801711093 | 8801711096                                                                                                                      $                    1,047
                                                                                          Water

EVANSVILLE WATER & SEWER UTIL     90001152173500                                          Sewer, Water                                                                         $                      201

EVER GREEN ENVIRONMENTAL, LLC     Unknown                                                 Waste                                                                                $                       26

EVERGY                            8640329664 | 5487274247 | 9397693970                    Electricity                                                                          $                      884

                                  54615991080 | 71000925439 | 51276393014 |
EVERSOURCE                                                                                Electricity, Gas                                                                     $                    5,600
                                  57188740021 | 56284311099 | 10592930019

FAYETTEVILLE PBLC WRKS COMMSSN 2005100000                                                 Water, Electricity                                                                   $                      239

FIELDINGS OIL CO., INC.           Unknown                                                 Gas                                                                                  $                      402

FONTANA WATER CO                  35903105550 | 35913457500 | 35913457550                 Water                                                                                $                    1,155

FORTIS BC NATURAL GAS             523736                                                  Gas                                                                                  $                      532

                                  3324232598 | 3329237519 | 7535678655 | 0246014781 |
FPL                                                                                       Electricity                                                                          $                    3,343
                                  0251019709 | 7454620480

FRONTIER                          Unknown                                                 Telecom                                                                              $                    1,179

FRSA PAYMENTS                     0450954AR                                               Sewer                                                                                $                       25

GALLIA COUNTY SEWER DEPARTMENT 01230841                                                   Sewer                                                                                $                      150

GALLIA RURAL WATER ASSOC          00499001                                                Water                                                                                $                       24

                                  7789341000 | 8752748564 | 8836250351 | 6865517511 |
GAS SOUTH                                                                                 Gas                                                                                  $                    1,205
                                  1266000837

                                  3665963014 | 6500963017 | 1420875002 | 4189391066 |
GEORGIA POWER                     5613424020 | 9059965060 | 9080965054 | 9101965010 |     Electricity                                                                          $                    8,607
                                  9502681002 | 3155615001 | 9374005016

GOLDEN STATE WATER CO             45925000007 | 57525000006                               Water                                                                                $                      183

GRANGER HUNTER IMPROVEMENT DIS 432048000 | 432050000                                      Sewer, Water                                                                         $                      642

GRANITE TELECOMMUNICATIONS        Unknown                                                 Telecom                                                                              $                      348

GREEN MOUNTAIN POWER CORP         02122000009 | 91122000002 | 90172000003                 Electricity                                                                          $                      846

GREENEVILLE ENERGY AUTHORITY      133051                                                  Electricity                                                                          $                      531

GREENVILLE WATER                  0018227350 | 0099991554                                 Water, Sewer                                                                         $                      212

GREYSTONE POWER CORP              10091555002                                             Electricity                        $                      341                        $                      520

HAMPDEN TOWNSHIP                  011173000 | 105412001                                   Sewer, Storm Water                                                                   $                      348

HAWAIIAN ELECTRIC COMPANY         202011483999 | 202011484070                             Electricity                                                                          $                      602

HAYWARD WATER SYSTEM              2513010015926 | 2516110015925                           Sewer, Water                                                                         $                      232

HERITAGE CRYSTAL CLEAN LLC        Unknown                                                 Waste                                                                                $                      917

HOLLAND BOARD OF PUBLIC WORKS     1095135001 | 2938253402                                 Water, Sewer, Electricity                                                            $                    3,758

HOPE GAS                          9100000093520                                           Gas                                                                                  $                       58

HOWARD COUNTY                     211010460846 | 211010460894                             Water, Sewer                                                                         $                       84

HRUBS                             5409910004                                              Sewer, Water                                                                         $                       48
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HYDRO ONE NETWORKS INC           200165342127                                          Electricity                                                                                $                      343

HYDRO QUEBEC                     299002385035 | 299000814085                           Electricity                                                                                $                    1,427

IDAHO POWER                      2204746958 | 2203481714 | 2204756924                  Electricity                                                                                $                    1,255

ILLINOIS AMERICAN WATER          1025210004276118                                      Water, Sewer                                                                               $                      199

IMPERIAL IRRIGATION DISTRICT     50867013                                              Electricity                                                                                $                      708

                                 04771200013 | 04716737301 | 04007713706 |
INDIANA MICHIGAN POWER           04602592117 | 04010947812 | 04330957111 |             Electricity                                                                                $                    5,262
                                 04640957116 | 04950957110 | 04986119917

INTERMOUNTAIN GAS COMPANY        46112330009 | 51729330004 | 55282130008               Gas                                                                                        $                      155

INTERSTATE WASTE SVC             Unknown                                               Waste                                                                                      $                    1,269

JACKSON EMC                      1075431                                               Electricity                             $                     1,000                        $                       -

JACKSON ENERGY AUTHORITY         200967100967                                          Water, Sewer, Gas                                                                          $                      110

JEA                              6004924200                                            Water, Electricity                                                                         $                    1,036

JEFFERSONVILLE WASTEWATER DEPT   103647                                                Storm Water, Sewer                                                                         $                      524

JOE WHEELER EMC                  79332001 | 79332003                                   Electricity                                                                                $                      553

JOHNSON COUNTY WASTEWATER        0020786931 | 0020791902 | 0020791889                  Sewer                                                                                      $                    1,770

                                                                                       Electricity, Sewer, Water, Storm
KANSAS CITY BD OF PUBLIC UTIL    3086228 | 3086229                                                                                                                                $                    2,445
                                                                                       Water
                                 5105369921185725 | 5104210371344414 | 1208596686 |
KANSAS GAS SERVICE                                                                     Gas                                                                                        $                    4,747
                                 1200150251

KC WATER                         00017688001885509                                     Sewer, Water, Storm Water                                                                  $                    2,145

                                 0403422853 | 5102606796 | 7042645368 | 8434023740 |
KCP&L                                                                                  Electricity                                                                                $                   29,850
                                 8070798365 | 0644930289

KEARNY MUNICIPAL UTILITIES       10070                                                 Sewer                                                                                      $                       15

KEARNY WATER DEPT                00305250000000 | 00306660000000                       Water                                                                                      $                      268

KENNEBEC WATER DISTRICT          7317705207054                                         Water                                                                                      $                       41

KIMBLE RECYCLING & DISPOSAL      Unknown                                               Waste                                                                                      $                      774

KLEINSCHMIDT INC.                Unknown                                               Telecom                                                                                    $                    3,326

KU                               300006363133                                          Electricity                                                                                $                      221

KUB                              2822910000 | 1997510000                               Water, Sewer, Gas, Electricity                                                             $                    2,467

LACKAWANNA RVR BASIN SWR AUTH    240310134 | 240310136                                 Sewer                                                                                      $                       20

LAKE HAVASU CITY                 0007757601                                            Water, Sewer                                                                               $                       43

LEVEL 3 COMMUNICATIONS LLC       Unknown                                               Telecom                                                                                    $                    3,670

LEXINGTON FAYETTE URBAN CO GOV 125649300                                               Sewer, Water, Storm Water                                                                  $                      642

                                 006012892 | 139391767 | 402150155 | 584327969 |
LIBERTY                                                                                Electricity                                                                                $                    2,317
                                 637301557 | 814336186 | 901231324

LIBERTY UTILITIES MIDSTATES      7754778377152223                                      Gas                                                                                        $                       51

LOS ANGELES DEPT OF WTR & PWR    3900390000                                            Sewer, Water, Electricity               $                     5,000                        $                       -

LVVWD                            07479278678                                           Water, Sewer                                                                               $                      558

MACON WATER AUTHORITY            105501                                                Water, Sewer, Storm Water                                                                  $                       57

MADISON COUNTY SANITARY SEWER    52770001                                              Sewer                                                                                      $                       38

MADISON GAS & ELECTRIC           9100106215                                            Gas, Electricity                                                                           $                      333

MAHONING COUNTY SANITARY         0013987461039197                                      Sewer                                                                                      $                       79

MALAGA COUNTY WATER DISTRICT     11801                                                 Water, Sewer                                                                               $                      504

MANITOBA HYDRO                   79683266064629 | 79684086438922 | 79684096438923      Electricity, Gas                                                                           $                      110

MARIETTA POWER WATER             10197011945 | 10197081170                             Sewer, Water, Electricity                                                                  $                    6,790

MASON CITY PUBLIC UTILITIES      184052002                                             Sewer, Water, Waste                                                                        $                       19

MCALLEN PUBLIC UTILITY           000093250026288                                       Waste, Sewer, Water, Storm Water                                                           $                      349

                                 0004812561453130 | 0004812561453142 |                 Sewer, Water, Gas, Electricity, Storm
MEMPHIS LIGHT GAS & WATER DIV                                                                                                                                                     $                    9,479
                                 0004812561454309                                      Water

MET ED                           100012677371                                          Electricity                                                                                $                    1,343

METRO WATER SERVICES             190708300 | 60280300                                  Sewer, Water, Storm Water                                                                  $                    4,625

METROPOLITAN ST LOUIS SWR DIST   02075232 | 02090108 | 02091478                        Sewer                                                                                      $                      360

METROPOLITAN UTILITIES DIST      112000237890                                          Gas, Sewer, Water                                                                          $                      572
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            Utility Provider                   Account Number(s) (if known)                              Service(s)            Utility Deposit Amount   Surety Bond Amount   Proposed Adequate Assurance

MIAMI VALLEY LIGHTING LLC         10088646                                                Electricity                                                                        $                      642

                                  2463060009 | 5677063013 | 5698063014 | 1983002016 |
MIDAMERICAN ENERGY CO                                                                     Electricity, Gas                                                                   $                    3,500
                                  0024031039 | 4580013016
                                  472767 | 472692 | 472534 | 472509 | 472458 | 472768 |
MIDAMERICAN ENERGY SERVICES       472693 | 472335 | 472389 | 472370 | 472334 | 472690 |   Electricity                                                                        $                   20,293
                                  472590 | 467459

MIDDLESEX TOWNSHIP MUNIE AUTH     2710                                                    Water, Sewer                                                                       $                    3,240

MINNESOTA ENERGY RESOURCES        050664619500001                                         Gas                                                                                $                       70

MISSOURI AMERICAN WATER           1017210015292837                                        Water                                                                              $                       10

MITCHELL COMMUNICATIONS INC       Unknown                                                 Telecom                                                                            $                      161

MITCHELL PUBLIC WATER DISTRICT    2000024000008                                           Water                                                                              $                      173

MOBILE AREA WATER & SEWER SYS     0107213300                                              Water, Sewer                                                                       $                       58

MODERN DISPOSAL SERVICES, INC.    Unknown                                                 Waste                                                                              $                      204

MONONGAHELA POWER                 110082642221 | 110088588618                             Electricity                                                                        $                      232

MONROE COUNTY WATER AUTHORITY 155864 | 391576                                             Water                                                                              $                       34

MONTANA DAKOTA UTILITIES CO       21798010001 | 50298110003                               Gas                                                                                $                      155

MONTGOMERY COUNTY                 162603613202 | 162597613196                             Water, Sewer                                                                       $                      221

MONTGOMERY WATER WRKS & SEWER 3640323300                                                  Water                                                                              $                       77

MORTON UTILITIES                  4274347500                                              Sewer, Gas, Water, Storm Water                                                     $                      198

MOUNTAINEER GAS COMPANY           183794205309                                            Gas                                                                                $                       53

MP SERVICES UTAH LLC              Unknown                                                 Waste                                                                              $                      304

MUHLENBERG TOWNSHIP AUTHORITY G301017 | G400105                                           Sewer, Water                                                                       $                      159

MUKILTEO WATER & WASTWTR DIST     008194000 | 010274000                                   Water, Sewer                                                                       $                      117

NARRAGANSETT BAY COMMISSION       0176449085162                                           Sewer                                                                              $                      220

NASHVILLE ELECTRIC SERVICE        04101100401134 | 00617030060940 | 00617040060941        Electricity                                                                        $                    9,927

                                  608908011 | 594818406 | 533919903 | 339600308 |
NATIONAL FUEL                                                                             Gas                                                                                $                    2,658
                                  373407610

                                  0179018038 | 5067494138 | 2683617158 | 4167487134 |
                                  9527496134 | 0892005510 | 3876848004 | 4562817680 |
NATIONAL GRID                     4562819150 | 6579113005 | 4531619000 | 4531622030 |     Gas, Electricity                                                                   $                   11,954
                                  0487032002 | 0392689002 | 0073582740 | 1222448107 |
                                  2767546101 | 3240083106 | 3403785109


NEBRASKA PUBLIC POWER DIST        211010069223 | 211010056747                             Electricity                                                                        $                      397

NEVILLE TOWNSHIP                  48644864                                                Sewer, Water                                                                       $                       78

NEW CASTLE COUNTY                 1002400002                                              Sewer, Water                                                                       $                       51

NEW HAVEN UTILITIES               246660800                                               Storm Water                                                                        $                      129

                                  1018210026160923 | 1018210026236066 |
NEW JERSEY AMERICAN WATER                                                                 Water                                                                              $                      364
                                  1018220003702925 | 1018220004849278

NEW MEXICO GAS CO                 06259001306500289                                       Gas                                                                                $                    1,538

                                  10011283271 | 10011402178 | 10011402186 |
NEW YORK STATE ELEC & GAS CORP                                                            Electricity                      $                      200                        $                    1,068
                                  10037077616 | 10037077624

NEXTEL COMMUNICATIONS, INC.       Unknown                                                 Telecom                                                                            $                    1,108

                                  53193020004 | 87940800003 | 26812700008 |
                                  31665400003 | 83594020006 | 93594020005 |
NICOR GAS                                                                                 Gas                              $                      299                        $                   30,696
                                  20727872747 | 13926031546 | 53274510006 |
                                  91714510004 | 43442434981
                                  8303600013 | 1754780007 | 3681450081 | 7018670040 |
NIPSCO                                                                                    Gas, Electricity                                                                   $                    1,500
                                  7039960045 | 9491450098

NOR CAL WASTE SERVICES            Unknown                                                 Waste                                                                              $                      266

NORTH GEORGIA EMC                 25452703001                                             Electricity                                                                        $                    2,454

NORTHCENTRAL ELECTRIC COOP        54726001                                                Electricity                                                                        $                    1,337

NORTHEAST OHIO REGION SWR DIST    4303100008 | 1347317077                                 Sewer, Storm Water                                                                 $                    1,802

                                  02213718 | 03624863 | 08525453 | 02093755 | 06051361 |
NORTHWESTERN ENERGY                                                                      Electricity, Gas                                                                    $                    2,027
                                  26751339

NORTHWESTERN WATER & SWR DIST     02028241                                                Sewer, Water                                                                       $                      157

                                  1000034167803556881 | 1000034167801971843 |
NV ENERGY                                                                                 Electricity, Gas                                                                   $                    3,015
                                  3000126882420235332 | 1000025046902592941

NW NATURAL                        22594733 | 22594774 | 3361110                           Gas                                                                                $                    1,557

NYC WATER BOARD                   0000574912001 | 9000316974001                           Sewer, Water                                                                       $                       87

                                  10010211638 | 10010211646 | 10010211653 |
NYSEG                                                                                     Electricity                      $                      285                        $                    4,352
                                  10010211661
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            Utility Provider                  Account Number(s) (if known)                            Service(s)              Utility Deposit Amount        Surety Bond Amount   Proposed Adequate Assurance

OAK CREEK WATER & SEWER          733900700000                                          Sewer, Water                                                                              $                      155

OAKDALE ELECTRIC COOP            29423001 | 29423002 | 29423003 | 29423004             Electricity                                                                               $                      909

OCWRC                            7956801 | 7956901                                     Sewer, Water                                                                              $                      213

OGE                              12024394                                              Electricity                                                                               $                    3,483

                                 110008969005 | 110056672071 | 110057458983 |
OHIO EDISON                                                                            Electricity                                                                               $                    9,444
                                 110008572486 | 110016712397 | 110007970921

                                 211356531201615873 | 211356531253220382 |
OKLAHOMA NATURAL GAS                                                                   Gas                                                                                       $                    1,524
                                 211089135177645600

OMAHA PUBLIC POWER DIST          4885200090                                            Electricity                                                                               $                      751

OPENTEXT INC.                    Unknown                                               Telecom                                                                                   $                    3,936

OREGON TRAIL ELECTRIC COOP       68294001                                              Electricity                                                                               $                      117

ORLANDO UTILITIES COMMISSION     6164510001                                            Sewer, Water                                                                              $                      222

                                                                                       Storm Water, Sewer, Electricity,
OWATONNA PUBLIC UTILITIES        714215                                                                                                                                          $                    1,328
                                                                                       Water, Gas
                                 14714421001 | 14714421005 | 14714421003 |
PACIFIC POWER                    40758450001 | 40758450002 | 49728351001 |             Electricity                                                                               $                    4,713
                                 25121531001

PADUCAH POWER SYSTEM             13586001                                              Electricity                                                                               $                      488

PADUCAH WATER                    045345000                                             Water, Sewer, Waste                                                                       $                      190

PECO ENERGY                      0812700109 | 7083501101 | 8928700409                  Electricity                                                                               $                    1,948

PECO PAYMENT PROCESSING          5526002105                                            Gas                                                                                       $                      256

PENELEC                          100009700996 | 100101770087 | 100004411276            Electricity                                                                               $                      631

                                 1024210032130477 | 1024210035436815 |
PENNSYLVANIA AMERICAN WATER      1024210034151029 | 1024210035181474 |                 Water                                                                                     $                      870
                                 1024210035814156

PEOPLES                          200001820667                                          Gas                                                                                       $                       77

                                 9127442186 | 3871769082 | 7972202301 | 2105822301 |
PG&E                             5425047486 | 5838991596 | 6286915535 | 1340330722 |   Gas, Electricity                   $                    34,925   $                20,920 $                        -
                                 4973888144 | 9879446432 | 3660466367 | 6855500000

PHOENIX WATER AND WASTEWATER
                                 Unknown                                               Sewer                                                                                     $                    1,455
OPERATIONS


                                 7001519432001 | 7001519432002 | 9001467017001 |
                                 9001467017002 | 0000603824001 | 5000603825001 |
PIEDMONT NATURAL GAS             5001001365001 | 6000603823001 | 9000603826001 |       Gas                                                                                       $                    9,861
                                 8000169001001 | 0000475787001 | 3000393579001 |
                                 7003751571001


PLAINVIEW WATER DISTRICT         19908900 | 22804600                                   Water                                                                                     $                       34

PNM                              02413890303134263                                     Electricity                                                                               $                    1,519

POCKETINET COMMUNICATIONS INC    Unknown                                               Telecom                                                                                   $                       89

PORTLAND WATER DISTRICT          30040476                                              Sewer, Water                                                                              $                       17

POTOMAC EDISON                   110081054261                                          Electricity                                                                               $                    2,272


                                 8138081006 | 5668922008 | 8082114018 | 8122114003 |
PPL ELECTRIC UTILITIES                                                                 Electricity                                                                               $                    7,970
                                 8162114014 | 8182114001 | 3441079002


                                 6463059016 | 7453790001 | 9274070002 | 4025014022 |
PPL ELECTRIC UTILITIES CORP                                                            Electricity                                                                               $                    2,116
                                 5345021020 | 5811028033


PRAIRIE ROAD WATER DISTRICT      030050000                                             Water                                                                                     $                      301

PROVIDENCE WATER                 810030 | 811716                                       Water                                                                                     $                      117

                                 6590904405 | 6661093609 | 6629983300 | 6768413902 |
PSE&G CO                         6768414704 | 6855126502 | 6881834403 | 7143949418 |   Electricity, Gas                                                                          $                    9,817
                                 6701439802 | 6744798103

PSEGLI                           00883001463 | 05937000718 | 05937007259               Electricity                                                                               $                    2,134

PUBLIC SERVICE CO OF OKLAHOMA    95167990100                                           Electricity                                                                               $                      513

PUGET SOUND ENERGY               200009337433 | 200002367429                           Gas                                                                                       $                      175

PWSD NO 9                        000562                                                Water                                                                                     $                       14

RAMBONE DISPOSAL SERVICE INC     Unknown                                               Waste                                                                                     $                      436

READING MUNICIPAL LIGHT DEPT     524864124864 | 524865124865                           Electricity                                                                               $                    1,343

REGION OF PEEL                   2713010000                                            Sewer, Water, Storm Water                                                                 $                    1,396

RELIANT                          189476682                                             Electricity                                                                               $                      642

REPUBLIC SERVICES                Unknown                                               Waste                                                                                     $                    1,418
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RG&E                               20013069305 | 20015023177                             Gas, Electricity                                                                          $                    2,025

                                   4057406027 | 6850835000 | 3889393027 | 6473476001 |
RHODE ISLAND ENERGY                                                                      Electricity, Gas                                                                          $                    4,821
                                   7719775002

RINGCENTRAL INC                    Unknown                                               Telecom                                                                                   $                   89,575

RIO GRANDE ELEC COOP INC           202590000                                             Electricity                                                                               $                      237

ROANOKE GAS CO                     00774315                                              Gas                                                                                       $                       41

                                   25121531005 | 14714421006 | 60609151003 |
ROCKY MTN POWER                                                                          Electricity, Sewer                                                                        $                    6,908
                                   25791326001 | 25791326002 | 41116636001

ROGER'S WIRELESS                   Unknown                                               Telecom                                                                                   $                    4,861

SACRAMENTO COUNTY UTILTIES         50000381439                                           Sewer, Storm Water                                                                        $                      284

                                                                                         Electricity, Water, Sewer, Storm
SALT LAKE CITY PUBLIC UTILITES     W1708058 | W1708066                                                                                                                             $                      908
                                                                                         Water

SAN ANTONIO WATER SYSTEM           00033316603331670001                                  Sewer, Water, Storm Water                                                                 $                      241

                                   006495314957 | 009468712619 | 007786582140 |
SAN DIEGO GAS & ELECTRIC                                                                 Electricity                        $                     6,324                            $                       -
                                   009809785536

SAN GABRIEL VALLEY WATER CO        12105600512 | 12902000802                             Water                                                                                     $                      251

SAN JOSE WATER COMPANY             19214901928 | 33176810548 | 51626722998               Water                                                                                     $                    1,382

SANDY TOWNSHIP MUNICIPAL
                                   Unknown                                               Water                                                                                     $                       15
AUTHORITY

SASK ENERGY                        26038000001 | 96985000007                             Gas                                                                                       $                    1,090

SASK POWER                         500002788114 | 500002672144                           Electricity                                                                               $                      837

SELCO                              228653                                                Electricity                                                                               $                      855

SEMCO ENERGY GAS CO                0188837502                                            Gas                                                                                       $                      935

SEMO ELECTRIC COOP                 11637401                                              Electricity                                                                               $                      378

SEWERAGE & WTR BD NEW ORLEANS      197475440999                                          Waste, Water                                                                              $                       44

SIOUX FALLS UTILITIES              50744120000237655                                     Water, Sewer                                                                              $                       65

SMASH MY TRASH                     Unknown                                               Waste                                                                                     $                    2,864

SMASH MY TRASH FOOTHILLS           Unknown                                               Waste                                                                                     $                      297

SMASH MY TRASH OMAHA               Unknown                                               Waste                                                                                     $                      326

SMASH MY TRASH SAN DIEGO           Unknown                                               Waste                                                                                     $                      203

SMASHACHUSETTS LLC                 Unknown                                               Waste                                                                                     $                      625

SMUD                               3326057                                               Electricity                                                                               $                      886

SOCALGAS                           04657787216                                           Gas                                                                                       $                    1,470

SOLEX                              Unknown                                               Telecom                                                                                   $                      249

SOUTH ADAMS CO WTR & SAN DIST      60401000 | 60401100                                   Sewer, Water                                                                              $                      321

SOUTH BEND MUNICIPAL UTILITIES     102508300 | 141252300                                 Water, Storm Water, Sewer                                                                 $                      495


                                   700110251153 | 700493121974 | 700398976808 |
                                   700745341071 | 700010441890 | 700150183629 |
                                   700523008381 | 700596086363 | 700292541334 |
SOUTHERN CALIFORNIA EDISON                                                               Electricity                                                      $               185,000 $                        -
                                   700006083964 | 700010746937 | 700015003722 |
                                   700623486035 | 700625657320 | 700026832567 |
                                   700034544067


SOUTHINGTON BOARD WATER COMM       10996100 | FP10996101                                 Water                                                                                     $                       44

SOUTHWEST GAS                      910000366125 | 910001709929 | 910000117139            Gas                                                                                       $                      341

SOUTHWEST TENNESSEE EMC            211958111568 | 211959111569                           Electricity                                                                               $                      330

                                   96820485710 | 96890563024 | 96128080007 |
SOUTHWESTERN ELECTRIC POWER                                                              Electricity                        $                      483                             $                      646
                                   96587380005 | 96271761106

SPECTROTEL                         Unknown                                               Telecom                                                                                   $                      201

                                   7415552222 | 4752151111 | 5632032222 | 1242020000 |
SPIRE                                                                                    Gas                                $                      200                             $                    4,097
                                   2242020000

SPRINGDALE WATER UTILITIES         210065000                                             Sewer, Water                                                                              $                       14

SPRINT                             Unknown                                               Telecom                                                                                   $                    1,268

SRP                                454600005 | 800400004 | 863010005 | 711600006         Electricity                                                                               $                    4,478

SRT                                Unknown                                               Telecom                                                                                   $                       48

SUBURBAN NATURAL GAS CO            004124801                                             Gas                                                                                       $                      229

SUFFOLK COUNTY WATER AUTHORITY 3000043442                                                Water                                                                                     $                       22

SUMMIT UTILITIES ARKANSAS INC      210100256296                                          Gas                                                                                       $                      369
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             Utility Provider                  Account Number(s) (if known)                          Service(s)       Utility Deposit Amount   Surety Bond Amount   Proposed Adequate Assurance

TAMPA ELECTRIC                    211002139866 | 211002210097                         Electricity                                                                   $                    1,126

TAYLOR WASTE SERVICES, INC.       Unknown                                             Waste                                                                         $                      310

TAYLOR-MONTGOMERY, LLC            Unknown                                             Waste                                                                         $                    2,097

TDS TELECOM                       Unknown                                             Telecom                                                                       $                        8

                                  04521068249 | 18591498003 | 15530716156 |
THE GAS CO                                                                            Gas                                                                           $                      394
                                  14114083836 | 17268970013 | 06311640004

THE ILLUMINATING CO               110022862392 | 110022862533                         Electricity                                                                   $                    4,234

THE REGIONAL MUNIE OF DURHAM      2014900000                                          Sewer, Water                                                                  $                      154

THERMO FLUIDS INC.                Unknown                                             Waste                                                                         $                      727

TIME WARNER CABLE INC.            Unknown                                             Telecom                                                                       $                      465

TMOBILE                           Unknown                                             Telecom                                                                       $                      115

TOLEDO EDISON                     110018230760 | 110018929320 | 110043469508          Electricity                                                                   $                    1,281

TOLEDO EDISON CO                  110020285273                                        Electricity                                                                   $                    1,658

TOMAH WATER & SEWER               285100                                              Sewer, Water                                                                  $                       54

TOMBIGBEE ELECTRIC POWER ASSN     202184102080                                        Electricity                                                                   $                      229

TOWN OF BABYLON                   004537                                              Waste                                                                         $                      411

TOWN OF BETHLEHEM                 1963119630 | 4323119320                             Water, Sewer                                                                  $                      115

                                  15010639 | 15010640 | 88841250001 | 88841250002 |
TOWN OF BILLERICA                                                                     Water                                                                         $                       24
                                  88841260001
                                  31300887600 | 41300911500 | 31300541200 |
TOWN OF DEWITT WATER DISTRICT                                                         Water                                                                         $                       20
                                  31300541300

TOWN OF EVANSVILLE                1200006205                                          Water, Waste, Sewer                                                           $                       88

TOWN OF FAIRFIELD                 1113                                                Sewer                                                                         $                       32

TOWN OF HENRIETTA                 300460                                              Sewer                                                                         $                        4

TOWN OF MEDLEY WATER DEPT         005222000                                           Sewer, Water                                                                  $                      126

TOWN OF NORTH READING             0348300 | 0348310                                   Water                                                                         $                      401

TOWN OF SHREWSBURY                35006469                                            Water, Storm Water                                                            $                      298

TOWN OF SOUTHINGTON               10996100                                            Sewer                                                                         $                       21

TOWN OF TONAWANDA                 20700100001 | 20700200001                           Sewer, Water                                                                  $                      143

TOWN OF WILLISTON                 0002600789                                          Water, Sewer, Storm Water                                                     $                       88

TRENTON WATER WORKS               7215477300 | 7215507301                             Water                                                                         $                      302

TRUCKEE MEADOWS WATER AUTH        143179300 | 182695300 | 169798300                   Water                                                                         $                      144

TUCSON ELECTRIC POWER COMPANY     5278274011 | 5655874011 | 5655912011 | 6033474011   Electricity                                                                   $                      609

TUCSON RECYCLING & WASTE
                                  Unknown                                             Waste                                                                         $                       34
SERVICES, LLC.

TUPELO WATER & LIGHT              221001120446                                        Water, Sewer                                                                  $                       13


                                  411003005138 | 411003005450 | 411002499472 |
                                  411002499761 | 411005265292 | 411005265458 |
UGI UTILITIES INC                                                                     Gas                                                                           $                    1,649
                                  411005265599 | 411000919208 | 411000919992 |
                                  411000920206 | 411000920651 | 411000920834


UMATILLA ELECTRIC COOP            6002839001                                          Electricity                                                                   $                       76

UNITED POWER INC                  8004901 | 8083701                                   Electricity                                                                   $                    1,411

UNS ELECTRIC INC                  8905500000 | 6757810000                             Electricity                                                                   $                      244

UNS GAS INC                       0839950000                                          Gas                                                                           $                      144

US CELLULAR                       Unknown                                             Telecom                                                                       $                      141

UTILITY BILLING SERVICES          200588820 | 201076080                               Water, Sewer, Waste                                                           $                      777

VENTURA WATER                     14386300                                            Water, Sewer                                                                  $                       45

VERIZON                           Unknown                                             Telecom                                                                       $                    4,246

VERIZON BUSINESS                  Unknown                                             Telecom                                                                       $                    3,153

VERIZON COMMUNICATIONS INC.       Unknown                                             Telecom                                                                       $                      462

VERIZON PENNSYLVANIA INC          Unknown                                             Telecom                                                                       $                      263

VERIZON WIRELESS                  Unknown                                             Telecom                                                                       $                   77,780

VGS                               335786                                              Gas                                                                           $                       76
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              Utility Provider                  Account Number(s) (if known)                            Service(s)            Utility Deposit Amount   Surety Bond Amount   Proposed Adequate Assurance

VILLAGE OF MAYBROOK                5330 | 5340 | 8670                                    Sewer, Water                                                                       $                      429

VILLAGE OF MCCOOK                  000000097000                                          Water, Sewer                                                                       $                      146

VILLAGE OF MONTGOMERY              1000175100                                            Sewer, Water                                                                       $                       53

VILLAGE OF SAUK VILLAGE            8702000000                                            Sewer, Water                                                                       $                    2,313

                                   510206110000 | 510206110300 | 510206110400 |
VILLAGE OF WHEELING                                                                      Storm Water, Sewer, Water                                                          $                      885
                                   510206110600 | 510206100000

WARREN COUNTY WATER DISTRICT       0945070041756                                         Water                                                                              $                       17

WARREN RURAL ELECTRIC COOP COR     400374001                                             Electricity                                                                        $                      203

WASHINGTON GAS                     220001120462                                          Gas                                                                                $                       76

WASTE CONNECTIONS OF CANADA
                                   Unknown                                               Waste                                                                              $                      156
INC.

WASTE CONNECTIONS OF FLORIDA       Unknown                                               Waste                                                                              $                      706

WASTE CONNECTIONS OF TN INC        Unknown                                               Waste                                                                              $                      492

WASTE HARMONICS                    Unknown                                               Waste                                                                              $                   71,980

WASTE MANAGEMENT                   Unknown                                               Waste                                                                              $                      728

WASTE MANAGEMENT NATIONAL
                                   Unknown                                               Waste                                                                              $                  148,103
SERVICES INC
WASTE MANAGEMENT OF CANADA
                                   Unknown                                               Waste                                                                              $                    3,704
CORPORATION

WASTE MGNT OF NEW YORK             Unknown                                               Waste                                                                              $                       63

                                   400101318835 | 400101318877 | 400101318952 |
WATER DIST NO 1 OF JOHNSN CNTY                                                           Water                                                                              $                    1,325
                                   400101318911

WATERTOWN MUNICIPAL UTILITIES      0060001133500                                         Water, Gas, Sewer, Electricity                                                     $                      221

WATSON WATER COMPANY INC           107937                                                Water                                                                              $                      284

WBRP GAS & WATER SYSTEMS           0406280000001                                         Water                                                                              $                      675

                                   070928852700001 | 070226974700001 |
                                   071837969600001 | 071837969600002 |
WE ENERGIES                                                                              Gas, Electricity                                                                   $                    6,844
                                   070248255100001 | 070465161400001 |
                                   071404201100001

WEST VALLEY WATER DISTRICT         0302628200 | 0302628400 | 0302628600                  Water, Sewer                                                                       $                      962

WEST VIEW WATER AUTHORITY          316001046000001                                       Water                                                                              $                       15

WEST VIRGINIA AMERICAN WATER       1028220011211710                                      Water                                                                              $                      100

WESTERN VIRGINIA WTR AUTH          112458526166                                          Water, Sewer                                                                       $                       68

WINDSTREAM CORPORATION             Unknown                                               Telecom                                                                            $                    7,779

WISCONSIN PUBLIC SERVICE CORP      041383553200001 | 040588659100002                     Electricity, Gas                                                                   $                    1,859

WOW BUSINESS                       Unknown                                               Telecom                                                                            $                       55

WSSC                               0197730000 | 1929330000                               Water, Sewer                                                                       $                      203

WVC UTILITY BILLING                5461                                                  Electricity, Sewer, Storm Water                                                    $                    1,162

                                   5300107412823 | 5319664716 | 5311247726 | 5259502044
                                   | 5100128339612 | 5166334272 | 5166932754 |
XCEL ENERGY                                                                             Gas, Electricity                                                                    $                   13,679
                                   5142814820 | 5144636895 | 5308118905 | 5329373395 |
                                   5311425255

ZIPLY FIBER                        Unknown                                               Telecom                                                                            $                      435
